Case 2:21-cv-10163-GAD-APP ECF No. 28-9, PageID.1122 Filed 02/19/21 Page 1 of 4




                               EXHIBIT 8
         Case 2:21-cv-10163-GAD-APP ECF No. 28-9, PageID.1123 Filed 02/19/21 Page 2 of 4

                                                                                   PRICE QUOTE


                                                                                                   Quote 21460
                                                                               Quote Date: Jul 27, 2020
                                                                                       Quote Expiration:
                                                                              Sales Rep: Detroit IT Sales


      Company:                             Ship To:                         Bill To:

      Detroit Axle                         Detroit Axle                     Detroit Axle
      2000 Eight Mile Rd.                  2000 Eight Mile Rd.              2000 Eight Mile Rd.
      Ferndale, MI 48220                   Ferndale, MI 48220               Ferndale, MI 48220



                                    Item                         Discount   Qty            Price     Subtotal

           Zebra TC72 Android Scanner                                  %       3       $             $

                                                                                                     $

      OPTIONAL ACCESSORIES

           5 Slot Charge Only Share Cradle                             %       3           $         $

           US AC Line Cord                                             %       3               $             $

           Snap-On Trigger Handle                                      %       3           $             $

                                                                                                     $

                                                                                       Subtotal      $6,579.28

                                                                                           Total    $6,579.28

     Note: 9800 Mt. Elliot Scanners


     AGREED TO AND ACCEPTED:




                                  07/28/2020
     ___________________________ _____________________


                      DETROIT IT | 1570 WOODWARD AVENUE | SUITE 303 | DETROIT, MI 48226
                                      P. 248.530.1001 | WWW.DETROITIT.COM
Document Ref: OCTZV-64EDK-EAUEW-YCGNV                                                                            Page 1 of 2
          Case 2:21-cv-10163-GAD-APP ECF No. 28-9, PageID.1124 Filed 02/19/21 Page 3 of 4

                                                                                                                            PRICE QUOTE

     50% Due Upon Acceptance. This quote does not include shipping and tax. This quote is subject to the Terms and Conditions found on our website

     (www.detroitit.com/terms). These terms are considered to be the most recent and take precedent over any other previously written or implied terms and

     conditions.Thank you for the opportunity to earn your business.The information contained in this communication is confidential, is intended only for the

     use of the recipient named above, and maybe legally privileged. If the reader of this message is not the intended recipient, you are hereby notified that

     any dissemination, distribution, or copying of this communication is strictly prohibited. If you have received this communication in error, please re-send

     this communication to the sender and delete the original message or any copy of it from your computer system.




                           DETROIT IT | 1570 WOODWARD AVENUE | SUITE 303 | DETROIT, MI 48226
                                           P. 248.530.1001 | WWW.DETROITIT.COM
Document Ref: OCTZV-64EDK-EAUEW-YCGNV                                                                                                                      Page 2 of 2
Case 2:21-cv-10163-GAD-APP ECF No. 28-9, PageID.1125 Filed 02/19/21 Page 4 of 4




                      Signature Certificate
                 Document Ref.: OCTZV-64EDK-EAUEW-YCGNV

   Document signed by:

                    Luis Fonseca
                    E-mail:
                    lfonseca@detroitaxle.com
                    Signed via link

                    IP: 12.200.188.130      Date: 28 Jul 2020 16:46:18 UTC



                        Document completed by all parties on:
                            28 Jul 2020 16:46:18 UTC
                                         Page 1 of 1




              Signed with PandaDoc.com
              PandaDoc is the document platform that boosts your
              company's revenue by accelerating the way it transacts.
